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 7
                      IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS, LLC,                   §
                                     §
11
          Plaintiff,                 §             Case No: 3:21-cv-06093-VC
12                                   §
     vs.                             §             PATENT CASE
13
                                     §
14   APPTIVO, INC.,                  §             PLAINTIFF’S NOTICE OF
                                     §             VOLUNTARY DISMISSAL
15
          Defendant.                 §             WITH PREJUDICE
16   ________________________________§
17

18         Plaintiff Digital Verification Systems, LLC (“Plaintiff” or “DVS”) files this
19   Notice of Voluntary Dismissal With Prejudice pursuant to Federal Rule of Civil
20   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
21   by the plaintiff without order of court by filing a notice of dismissal at any time before
22   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
23   dismisses this action against Defendant Apptivo, Inc. with prejudice, pursuant to Rule
24   41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
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 1   Dated: September 23, 2021           Respectfully submitted,
 2
                                         /s/ Stephen M. Lobbin
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                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
